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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )                8:14CR285
                                              )
      vs.                                     )                 ORDER
                                              )
TAMMY KNIGHT,                                 )
                                              )
                    Defendant.                )


      This matter is before the court on the motion of defendant Tammy Knight (Knight) to
review detention (Filing No. 61). The motion seeks to place Knight at Williams Prepared
Place as a homeless person. Knight is “homeless” because she is incarcerated for violating
previous orders of release. The motion is denied.


      IT IS SO ORDERED.


      DATED this 6th day of March, 2015.


                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
